       Case 4:23-cv-01661 Document 24 Filed on 03/08/24 in TXSD Page 1 of 1




                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

 JUAN ROSAS AND MARIA ROSAS                       §
                                                  §
           Plaintiffs,
                                                  §
                                                  §
 v.                                               §
                                                  §              Civil Action No.: 4:23-cv-01661
 PHH MORTGAGE CORPORATION                         §
 D/B/A NEWREZ                                     §
                                                  §
           Defendant.                             §



                    STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

         This matter having come before the Court on the stipulation between the parties; and the

Court being otherwise fully advise in the premises;

         It is hereby ORDERED, ADJUDGED and DECREED that all claims Plaintiffs asserted,

or could have asserted, against Defendant in this case are hereby DISMISSED WITH

PREJUDICE; and it is further

         ORDERED, ADJUDGED, and DECREED that all costs, expenses, and attorney fees are

taxed against the party incurring same.

         SIGNED this ____ day of __________, 2024.



                                                      ________________________________
                                                        PRESIDING JUDE




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